           Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1364V
                                          UNPUBLISHED


    CHRISTINA GILLESPIE,                                        Chief Special Master Corcoran

                         Petitioner,                            Filed: May 23, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      Petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

       On October 13, 2020, Christina Gillespie filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”), a defined Table Injury, after receiving the influenza (“flu”)
vaccine on October 15, 2019. Petition at ¶¶ 1, 9; Stipulation, filed at May 18, 2022, ¶¶ 1-
2, 4. Petitioner further alleges she received the vaccine in the United States, that she
continues to suffer the residual effects of her SIRVA more than six months post-
vaccination, and that neither she nor any other person has filed a civil action or received
compensation for her SIRVA. Petition at ¶¶ 1, 9-10; Stipulation at ¶¶ 3-5. “Respondent
denies that [P]etitioner’s alleged left shoulder injury or any other injury or condition was
caused by her receipt of the influenza vaccine, and further denies that [P]etitioner
sustained a SIRVA Table injury.” Stipulation at ¶ 6.
1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 2 of 7




       Nevertheless, on May 18, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $30,020.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
        Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 3 of 7




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

CHRISTINA GILLESPIE,                          )
                                              )
               Petitioner,                    )      No. 20-1364V
                                              )      Chief Special Master
       V,                                     )      Brian Corcoran
                                              )      SPU
SECRETARY OF HEALTH                           )
AND HUMAN SERVICES,                           )
                                              )
               Respondent.                    )


                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. Christina Gillespie, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3(a).

       2. Petitioner received the influenza vaccination in her left arm on October 15, 2019.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a left Shoulder Injury Related to Vaccine

Administration ("SIRVA") as a result of receiving the influenza vaccine, within the Table time

frame, and that she experienced residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.
        Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 4 of 7




        6. Respondent denies that petitioner's alleged left shoulder injury or any other injury or

condition was caused by her receipt of the influenza vaccine, and further denies that petitioner

sustained a SIRVA Table injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

         A lump sum of $30,020.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



                                                  2
        Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 5 of 7




        11. Payment made pursuant to paragraph 8 of this Stipulation, and any amounts awarded

pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa 10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the influenza vaccine administered on or about October 15, 2019,

as alleged by petitioner in a petition for vaccine compensation filed on October 13, 2020, in the

United States Court of Federal Claims as petition No. 20-1364V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




                                                   3
        Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 6 of 7




        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the influenza vaccine caused petitioner to suffer a

shoulder injury or her current disabilities, or any other injury or condition, or that petitioner

sustained an injury contained in the Vaccine Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

I

I

I

I



                                                  4
       Case 1:20-vv-01364-UNJ Document 30 Filed 06/24/22 Page 7 of 7




Respectfully submitted,


PETITIONER:



                           E


ATTORNEY OF RECORD FOR                                        AUTHORIZED REPRSENTATIVE
PETITIONER:                                                   OF THE ATTORNEY GENERAL:




~                              UI:
Law Offices of Leah V. Durant, PLLC
1717 K Street, NW Suite 900
                                                              ~ ~ ~~
                                                              Deputy Director
                                                              Torts Branch
                                                                                             ---""'-

Washington, DC 20006                                          Civil Division
(202) 652-1178                                                U.S. Department of Justice
Ldurant@durantllc.com                                         P.O. Box 146
                                                              Benjamin Franklin Station
                                                              Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                                     ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                                    RESPONDENT:
AND HUMAN SERVICES:
                          Digitally signed by George R.
George R.                 Grlmes-S14
                          Date: 2022.04.25 15:07:06
Grimes -514               -04'00'

CDR GEORGE REED GRIMES, MD, MPH                               ALTHEA WALKER DA VIS
Director, Division of Injury                                  Senior Trial Counsel
 Compensation Programs                                        Torts Branch, Civil Division
Health Systems Bureau                                         U.S. Department of Justice
Health Resources and Services                                 P.O. Box 146
 Administration                                               Benjamin Franklin Station
U.S. Department of Health                                     Washington, DC 20044-0146
 and Human Services                                           (202) 616-0515
5600 Fishers Lane, 08Nl46B                                    Althea.Davis@usdoj.gov
Rockville, MD 20857




                                                          5
